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                 IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TEXAS
                            WACO DIVISION

CITY OF ALLEN, TEXAS et al.,             §
                                         §
      Plaintiffs,                        §
                                         §
v.                                       §
                                         §         Civil Action No. 6:19-CV-345
TIME WARNER CABLE TEXAS,                 §
LLC, d/b/a SPECTRUM AND                  §
CHARTER COMMUNICATIONS,                  §
                                         §
      Defendant.                         §


                             NOTICE OF REMOVAL


      Pursuant to 28 U.S.C. §§ 1332 and 1441 et seq., Defendant Time Warner

Cable Texas, LLC, d/b/a Spectrum and Charter Communications ("TWC"),1 provides

notice of removal of this civil action now pending in the 170th Judicial District

Court of McLennan County, Texas, to the United States District Court for the

Western District of Texas, with full reservation of any and all rights, defenses, and

objections. TWC offers the following short and plain statement of the grounds for

removal. 28 U.S.C. § 1446(a).

                                     I.
                          THE STATE COURT ACTION

      1.     On April 5, 2019, Plaintiffs, twenty-six Texas cities ("Cities") filed a

petition against TWC in the 170th Judicial District Court of McLellan County,

1Defendant was previously named Time Warner Cable Texas, LLC, but amended its name
to Spectrum Gulf Coast, LLC on October 26, 2018 with the Public Utility Commission of
Texas.



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Texas, styled City of Allen, City of Arlington, City of Austin, City of Bedford, City of

Belton, City of Burleson, City of Carrollton, City of Cedar Hill, City of Colleyville,

City of Coppell, City of Dalworthington Gardens, City of Euless, City of Fort Worth,

City of Garland, City of Grand Prairie, City of Harker Heights, City of Hurst, City of

Hutto, City of Irving, City of Killeen, City of Lewisville, City of Mesquite, City of

Rockwall, City of Rowlett, City of Waco, and City of Wichita Falls, Texas v. Time

Warner Cable Texas, LLC, d/b/a Spectrum and Charter Communications, Cause

No. 2018-3835-4 ("Petition").        Plaintiffs' Amended Original Petition (attached as

Exhibit D).2

         2.     In the Petition, the Cities allege a number of claims and seek a variety

of relief based on TWC's alleged failure correctly to calculate and pay the Cities

franchise fees under TWC's state-issued cable franchise to provide cable service in

their communities. The Cities allege that, at least since 2014, TWC has underpaid

franchise fees owed to the Cities because TWC's has incorrectly calculated its gross

revenues from cable service.           The Cities allege TWC's underpayments violate

Chapter 66 of the Texas Public Utility Regulatory Act ("PURA").

         3.     The Cities assert causes of action for: (1) Declaratory Judgment;

(2) Statutory Violations of PURA; (3) "Money Had and Received"; and (4) Attorneys'

Fees. The Cities seek damages in excess of $1 million, and pre- and post-judgment

interest, in addition to equitable relief.




2   Plaintiffs filed an Original Petition on October 19, 2019, but never served it.



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       4.       On May 10, 2019, TWC accepted service of the Amended Original

Petition. See Tex. R. Civ. P. 119 (attached as Exhibit E).

       5.       TWC removes this case to this Court on the basis of diversity

jurisdiction.

                                       II.
                            PROCEDURAL REQUIREMENTS

       6.       Venue is proper in this Court pursuant to 28 U.S.C. §§ 1441(a) and

1391(b), because the Cities originally filed this action in the 170th Judicial District

Court of McLellan County, Texas, and a substantial part of the alleged events

and/or omissions giving rise to the Cities' claims occurred in this District. 28 U.S.C.

§ 124(d)(4).

       7.       There are no other named defendants whose consent would be required

for removal.

       8.       This Notice of Removal is filed within the time provided by 28 U.S.C.

§ 1446(b) because it is filed within one year of the commencement of the action and

within thirty (30) days after TWC was served with a copy of the initial pleading in

this action. See Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344

(1999).

       9.       Pursuant to 28 U.S.C. § 1446(a), this Notice of Removal is accompanied

by copies of the following materials:

                Exhibit A          Civil Cover Sheet;

                Exhibit B          Supplemental Civil Cover Sheet;

                Exhibit C          State Court Action Docket Transactions Sheet



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             Exhibit D            Plaintiffs' Amended Original Petition

             Exhibit E            Waiver of Service

      10.    Pursuant to 28 U.S.C. § 1446(d), written notice of the filing of this

Notice of Removal will be filed with the Clerk of the 170th Judicial District Court of

McLennan County, Texas, in the state-court action, and TWC will promptly serve

this Notice of Removal on the Cities.

                                   III.
                      BASIS FOR REMOVAL (DIVERSITY)

      11.    Under 28 U.S.C. § 1332(a), the "district courts shall have original

jurisdiction of all civil actions where the matter in controversy exceeds the sum or

value of $75,000, exclusive of interests and costs, and is between . . . citizens of

different States." Because both of these requirements are met, this case is properly

removed under 28 U.S.C. § 1441(b).

      12.    Complete diversity exists because, at the time the Cities commenced

this action in the state district court, the Cities were and continue to be citizens of a

different State than TWC, and neither TWC nor any of its members are citizens of

Texas. See Pet. ¶¶ 2-13, Ex. D.

      13.    For purposes of diversity jurisdiction, a political subdivision of a State,

including a municipal corporation, is a "citizen" of the State unless it is simply the

arm or alter ego of the State. See Moor v. Cnty. of Alameda, 411 U.S. 693, 717-18

(1973); City of Clarksdale v. BellSouth Telecomms., Inc., 428 F.3d 206, 209 n.2 (5th

Cir. 2005). Here, the Petition alleges that each City is a home-rule municipality




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chartered, incorporated, and situated entirely within Texas counties. Pet. ¶¶ 2-12,

Ex. D.

         14.   Pursuant to 28 U.S.C. § 1332(c), "a corporation shall be deemed to be a

citizen of every State . . . by which it has been incorporated and of the State . . .

where it has its principal place of business."    And "the citizenship of an LLC is

determined by the citizenship of all of its members." Harvey v. Grey Wolf Drilling

Co., 542 F.3d 1077, 1079-80 (5th Cir. 2008).       Here, Spectrum Gulf Coast, LLC

(formerly known as Time Warner Cable Texas, LLC), is a Delaware limited liability

company with its principal place of business in St. Louis, Missouri. It is an indirect

subsidiary of, and managed by, Charter Communications, Inc., which is a publicly-

held corporation organized in Delaware with its principal place of business in

Stamford, Connecticut. Neither the manager, nor the sole member of Spectrum

Gulf Coast, LLC, or any of the members of its member, are incorporated, reside, or

have a principal place of business in Texas.

         15.   The amount in controversy exceeds the jurisdictional threshold

pursuant to 28 U.S.C. § 1332(a), because the Cities seek over $1 million in damages.

Pet. ¶¶ 15, 38, 44, Ex. D. The Cities also seek attorneys' fees, Pet. ¶¶ 39-40, 46,

which are considered part of the amount in controversy for purposes of assessing

diversity jurisdiction. See White v. FCI U.S.A. Inc., 319 F.3d 672, 675-76 (5th Cir.

2003).




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      16.    Because complete diversity exists between the parties, and the amount

in controversy exceeds the jurisdictional minimum, this Court has jurisdiction

pursuant to 28 U.S.C. §§ 1332, 1441, and 1446. TWC's removal is proper.

                                        IV.
                                    CONCLUSION

      For the foregoing reasons, TWC requests this Court to remove this matter

pursuant to 28 U.S.C. §1441 and to proceed as if the Petition had been originally

filed in the United States District Court for the Western District of Texas.


Dated: May 31, 2019                   Respectfully Submitted,

                                      /s/ Amanda Cottrell
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                                      *Pro hac vice application to be filed

                                      Attorneys for Defendant
                                      Time Warner Cable Texas, LLC d/b/a
                                      Spectrum and Charter Communications




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                        CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on May 31, 2019 a true and correct
copy of the foregoing document was served on the following counsel of record as
shown below:


                        CERTIFIED MAIL-RETURN RECEIPT
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                                    /s/Amanda Cottrell
                                    Amanda Cottrell




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